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                                                            April 5, 2023

By ECF

Hon. Victor Marrero
United States District Judge
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.                                                          04/07/2023
New York, NY 10007-1312

               Re:     United States v. Narek Marutyan, et al., 20 Cr. 652 (VM)

Dear Judge Marrero:

        We write to respectfully request an additional thirty days with which to file motions. Our
negotiations with the Government have been fruitful and we recently received a final offer which
we anticipate will resolve the case. As the offer includes the possibility of consideration for a
global point we are working towards a hopeful global resolution. The additional time requested
will enable us to finalize our discussion. The Government has no objection to this request.

       Thank you for your consideration.

                                                            Respectfully submitted,

                                                            /s/ James Kousouros
                                                            James Kousouros, Esq.
c.c.

Emily Deininger
Assistant United States Attorney                          All briefing deadlines
                                        for the proposed pretrial motion shall be
                                        extended by thirty (30) days.




                                           04/07/2023
